Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                           CASE NO. 1:20-cv-21380-BLOOM/LOUIS

 JODI PIROWSKIN,

        Plaintiff,

 v.

 ATLANTIC & PACIFIC ASSOCIATION
 MANAGEMENT, INC.

       Defendant.
 _______________________________________/

            DEFENDANT’S  MOTION    TO   DISMISS PLAINTIFF’S
            COMPLAINT WITH INCORPORATED MEMORANDUM OF LAW

        Defendant, Atlantic & Pacific Association Management, Inc. (“Defendant”), by and

 through its undersigned counsel, and pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(6) and 12(e),

 hereby moves to dismiss Plaintiff’s Complaint. In support thereof, Defendant states as follows:

                                PRELIMINARY STATEMENT

        Plaintiff, a former employee, filed a three-count Complaint against Defendant alleging

 the following causes of action: (i) breach of contract for the payment of $5,400 for alleged

 “unpaid wages/services” (Count I); (ii) quantum meruit, as an alternate theory of recovery for the

 payment of allegedly unpaid compensation (Count II); and (iii) purported retaliation for

 complaints about alleged unpaid overtime compensation under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 215(a)(3) (Count III).

        In support of her breach of contract claim in Count I, Plaintiff claims that Defendant

 breached an oral agreement “to pay her based on work that she performed for Defendant” in the

 amount of $5,400 and that “Defendant breached the Agreement by failing and refusing to pay
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 2 of 12

                                                         CASE NO. 1:20-cv-21380-BLOOM/LOUIS


 Plaintiff the sum stated.” (Compl. ¶¶ 5-8.) In Count II, Plaintiff pleads “as an alternative claim

 to Count I,” a claim for quantum meruit for allegedly unpaid compensation and asserts that

 “Defendant would be unjustly enriched if it were allowed to retain the benefits resulting from

 Plaintiff’s work without paying.” (Id. ¶¶ 17-21.) In Count III, Plaintiff alleges that she is

 entitled to damages for retaliation in violation of the FLSA for complaints she purportedly made

 regarding overtime wages that she asserts Defendant never paid. (Id. ¶¶ 23-26.)

         The Court should dismiss Plaintiff’s Complaint for several reasons. First, Plaintiff’s

 claims for unpaid compensation in Counts I and II are preempted by the FLSA. Second, even if

 not preempted, Plaintiff has not sufficiently pleaded a claim for breach of contract that satisfies

 the Twombly/Iqbal pleading paradigm. Third, Plaintiff has not properly pleaded a claim for

 quantum meruit, as she has not adequately identified a benefit conferred for which she received

 no compensation.      Finally, Plaintiff’s FLSA retaliation claim should be dismissed because

 Plaintiff has not alleged sufficient facts to assert such a claim.

        For all of these reasons, and as set forth more fully below, the Court should dismiss

 Plaintiff’s Complaint in its entirety or, in the alternative, dismiss Counts I and II of the

 Complaint and require Plaintiff to amend the Complaint to provide a more definite statement as

 to the nature of her claims.

                  ARGUMENT AND SUPPORTING MEMORANDUM OF LAW

 I.      The Standard for a Motion to Dismiss

         As the Supreme Court has held, a complaint’s “[f]actual allegations must be enough to

 raise a right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 555 (2007). Indeed, Rule 8 of the Federal Rules of Civil Procedure requires “more than labels

 and conclusions,” and identifies two specific thresholds that the pleader must cross in order to

 avoid dismissal: (1) a pleader must bridge the gap between the conclusory and the factual; and


                                                    2
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 3 of 12

                                                        CASE NO. 1:20-cv-21380-BLOOM/LOUIS


 (2) a pleader must allege suggestive facts that exceed factual neutrality. Twombly, 550 U.S. at

 557 n.5. To successfully “nudge[ ] claims across the line from conceivable to plausible,” a

 complaint must contain facts “plausibly suggesting (not merely consistent with)” violations of

 the asserted causes of action. Id. at 570. See also Ashcroft v. Iqbal, 556 U.S. 662 (2009) (Rule 8

 demands that a plaintiff’s claims have “facial plausibility.”).

        Under Iqbal, “a pleading that offers labels and conclusions or a formulaic recitation of

 the elements of a cause of action will not do. Nor does a complaint suffice if it tenders naked

 assertions devoid of further factual enhancement.” Id. at 678 (internal citations omitted). “[I]f

 allegations are indeed more conclusory than factual, then the court does not have to assume their

 truth.” Id. Plaintiff failed to satisfy this pleading standard and, consequently, her claims should

 be dismissed.

 II.    The FLSA Preempts Plaintiff’s Claims for Unpaid Compensation in Counts I and II

        In Counts I and II of the Complaint, Plaintiff claims that Defendant breached an

 agreement to properly pay Plaintiff for her work (Count I) and unjustly benefited from services

 provided by Plaintiff for which Plaintiff was not properly paid (Count II). These claims are an

 attempted end-run around the FLSA’s procedures and remedies for alleged violations of its

 provisions, which requires a finding that the claims are preempted by the FLSA. Indeed, if

 Plaintiff claims that Defendant owed her any unpaid overtime compensation, the claim must be

 brought under the FLSA – the law that prescribes such rights.

        Courts repeatedly hold that § 216 of the FLSA is the exclusive remedy for enforcing

 rights created under the statute, especially with regard to allegedly unpaid overtime

 compensation.1 Bule v. Garda CL Se., Inc., No. 14-21898-CIV-MORENO, 2014 U.S. Dist.


 1
        Claims for implied agreement, quantum meruit, and unjust enrichment are available only
 where there is no adequate remedy at law. Bule, 2014 U.S. Dist. LEXIS 95618, at * 8.


                                                   3
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 4 of 12

                                                      CASE NO. 1:20-cv-21380-BLOOM/LOUIS


 LEXIS 95618, at *5 (S.D. Fla. July 11, 2014) (holding that the FLSA precludes efforts to end-

 run its claims and procedures, dismissing claims for breach of implied agreement, quantum

 meruit, and unjust enrichment (citing Tombrello v. USX Corp., 763 F. Supp. 541, 545 (N.D. Ala.

 1991))). Indeed, §§ 206 and 207 of the FLSA provides the rights that Plaintiff is attempting to

 enforce in Counts I and II of the Complaint. See Tombrello, 763 F. Supp. at 545.

        A plain reading of Plaintiff’s two state law causes of action reveals they are both

 dependent upon finding that Defendant violated one or more provisions of the FLSA. (See

 Compl. ¶¶ 5-9, 14-15, 17-21.) The true nature of the claims in Counts I and II and the relief

 sought therein is readily apparent from Plaintiff’s allegation in Count III that she was retaliated

 against for complaining about alleged non-payment of overtime compensation. State law claims

 that seek to enforce FLSA rights are routinely dismissed by the courts. See Botello v. COI

 Telecom, LLC, No. SA-10-cv-305-X2, 2010 U.S. Dist. LEXIS 99790, at *11 (W.D. Tex. Sept.

 21, 2010) (finding plaintiff’s common law claim preempted by the FLSA because the claim was

 “predicated on [d]efendant’s alleged failure to compensate him for hours worked in excess of 40

 hours; a requirement imposed by the FLSA [and] [t]he FLSA provides the exclusive remedy for

 violation of its mandates and pre-empts Plaintiffs FLSA-based state law claims.”); Farmer v.

 DirectSat USA, LLC, No. 08 C 3962, 2010 U.S. Dist. LEXIS 105738, at *40 (N.D. Ill. Oct. 4,

 2010) (finding that “the FLSA preempts Plaintiffs’ state common law claims of unjust

 enrichment, quantum meruit, and breach of implied contract”). Indeed, Counts I and II of the

 Complaint do not assert that Plaintiff never was paid any compensation for her work, but instead

 alleges that she is owed some form of premium payment of $5,400, i.e., alleged overtime

 compensation. Plaintiff cannot use the common law to enforce any rights that she may have

 under the FLSA. As such, because the right to overtime compensation never existed at common




                                                 4
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 5 of 12

                                                         CASE NO. 1:20-cv-21380-BLOOM/LOUIS


 law, and it does not exist but for the statutory mandate of the FLSA, the common law claims in

 Counts I and II are preempted.

        Accordingly, Plaintiff should not be permitted to avoid the procedures and substantive

 rules of the FLSA. For this reason alone, Counts I and II of the Complaint should be dismissed

 with prejudice.

 III.   Plaintiff Has Not Properly Pleaded a Breach of Oral Contract Claim in Count I

        Even if Plaintiff’s breach of contract claim for the payment of compensation is not

 preempted by the FLSA (which Defendant submits that it is), the Court still should dismiss

 Count I of the Complaint because Plaintiff has not properly pleaded a breach of contract claim.

 It is black letter law in Florida that to recover for a breach of contract, a plaintiff must plead and

 prove: (i) the existence of a valid contract; (ii) a material breach; and (iii) damages resulting from

 the breach. Brooks Tropicals, Inc. v. Acosta, 959 So. 2d 288, 292 (Fla. 3d DCA 2007). Plaintiff

 fails to adequately allege any of these elements.

        As a preliminary matter, whether a contract exists is an issue of law, not one of fact.

 Quaker Oats Co. v. Jewell, 818 So. 2d 574, 579 (Fla. 5th DCA 2002). In her Complaint,

 Plaintiff concedes that the alleged “Agreement” was oral. (Compl. ¶ 3.) The creation of a

 contract, whether written or oral, is subject to the basic requirements of contract law: offer,

 acceptance, consideration, and a sufficient specification of essential terms. St. Joe Corp. v.

 McIver, 875 So. 2d 375, 381 (Fla. 2004). In other words, the parties must have “mutually

 assented to a certain and definite proposition and left no essential terms open.” Tiara Condo.

 Ass’n, Inc. v. Marsh & McLennan Cos., Inc., 607 F.3d 742, 746 (11th Cir. 2010). Plaintiff has

 not met this basic pleading standard.




                                                     5
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 6 of 12

                                                        CASE NO. 1:20-cv-21380-BLOOM/LOUIS


        Plaintiff claims that Defendant entered into a verbal agreement “for the payment of

 wages/income” and that “Defendant breached the Agreement by failing and refusing to pay” a

 total of $5,400 to Plaintiff. (Compl. ¶¶ 3, 7-8, 14.) The Complaint is otherwise entirely devoid

 of any information regarding who entered into this alleged contract with Plaintiff, when the

 alleged contract was made, what were the essential terms of the alleged contract, how Defendant

 breached the alleged contract, and when the contract was breached. Plaintiff’s self-serving,

 conclusory statements that some “Agreement” was breached, without any supporting facts, is

 grossly deficient and fails to meet Plaintiff’s pleading burden under the rules of civil procedure.

 Moreover, Plaintiff does not identify an employment term or any other essential terms of a

 contract, and it is thus legally insufficient to state a claim. Indeed, Plaintiff’s failure to proffer

 the essential terms of the alleged oral contract mandates dismissal, as Florida law requires

 “definiteness and certainty” in the terms of an employment agreement.” See Uphoff v. Wachovia

 Sec., LLC, No. 09-80420-CIV, 2009 U.S. Dist. LEXIS 116679, at *8 (S.D. Fla. Dec. 14, 2009)

 (granting defendant’s motion to dismiss plaintiff’s breach of contract claim); Berger v. J. Slagter

 & Son Constr. Co., No. 6:10-cv-191-Orl-31KRS, 2010 U.S. Dist. LEXIS 39442, at *5 (M.D. Fla.

 Apr. 21, 2010) (dismissing plaintiff’s breach of an oral contract claim because of plaintiff’s

 failure to identify the essential terms of an oral contract); Taste Trackers, Inc. v. UTI Transp.

 Sols., Inc., No. 13-23377-CIV, 2014 U.S. Dist. LEXIS 4413, at *8 (S.D. Fla. Jan. 14, 2014)

 (granting motion to dismiss a breach of contract claim because plaintiff did not allege “all

 material terms of the alleged oral agreement”); Quaker Oats Co. v. Jewell, 818 So. 2d 574, 578

 (Fla. 5th DCA 2002) (quoting Muller v. Stromberg Carlson Corp., 427 So. 2d 266, 268 (Fla. 2d

 DCA 1983)).




                                                   6
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 7 of 12

                                                      CASE NO. 1:20-cv-21380-BLOOM/LOUIS


        As such, in addition to otherwise being preempted by the FLSA, Plaintiff’s claim for

 breach of an oral contract should be dismissed. See PNCEF, Ltd. Liab. Co. v. Highlander

 Enters., Ltd. Liab. Co., No. 09-80974-CIV-DIMITROULEAS, 2010 U.S. Dist. LEXIS 150658,

 at *6-9 (S.D. Fla. Mar. 2, 2010) (holding that the complaint’s failure to state underlying facts

 showing mutual assent, such as the specific people that negotiated the alleged oral agreement and

 when the agreement was entered into was insufficient to establish a valid contract existed).

 IV.    Plaintiff Has Failed to Plead a Proper Basis for Quantum Meruit Recovery

        In a separate attempt to sidestep the exclusive remedy of the FLSA, Plaintiff alternatively

 claims in Count II of the Complaint that she is entitled to recovery in quantum meruit; however,

 Count II fails to state a claim upon which relief can be granted.2 To survive a motion to dismiss

 on a claim seeking recovery in quantum meruit, Plaintiff is required to allege facts showing that

 “[she] provided, and [Defendant] assented to and received, a benefit in the form of goods or

 services under circumstances where, in the ordinary course of common events, a reasonable

 person receiving such a benefit normally would expect to pay for it.”             W.R. Townsend

 Contracting, Inc. v. Jensen Civil Constr., Inc., 728 So. 2d 297, 305 (Fla. 1st DCA 1999).

 Plaintiff’s Complaint does not identify any benefit that she purportedly bestowed upon

 Defendant and received no compensation.




 2
         Although Count II is entitled “quantum meruit,” the allegations in Count II
 simultaneously appear to seek relief sounding in unjust enrichment, thus confusing the theory
 under which Plaintiff seeks recovery. (Complaint ¶ 21.) While the two claims can operate
 similarly depending upon the facts of any case, they are analytically distinct from one another.
 Quantum meruit recognizes a contract implied in fact based upon an alleged failure to
 compensate the plaintiff for services rendered or goods delivered, and unjust enrichment
 recognizes a contract implied in law, or, a “quasi-contract” that imposes a contractual obligation
 where none would have existed. See Com. P’ship 8098 Ltd. P’ship v. Equity Contracting Co.,
 695 So. 2d 383, 385-87 (Fla. 4th DCA 1997) (explaining the distinction between quantum meruit
 and unjust enrichment and highlighting the problems associated with confusing the two theories).


                                                 7
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 8 of 12

                                                      CASE NO. 1:20-cv-21380-BLOOM/LOUIS


        In Count II, Plaintiff complains that she is entitled to payment for services that she

 rendered on Defendant’s behalf for its customers. (See Compl. ¶¶ 18-20.) The Complaint fails

 to make clear the particular benefit that Plaintiff purportedly bestowed upon Defendant and for

 which she received no compensation. It refers generically to “work,” but fails to describe the

 nature of the “work” that she completed and for which she never was paid. Noticeably absent

 from her allegations is whether Defendant purportedly failed to pay her at all, whether Defendant

 allegedly failed to pay for any “overtime” work that she allegedly completed, or whether some

 other arrangement allegedly was uncompensated. (See generally Compl.) Given the threadbare

 allegations in Count II, Defendant cannot be expected to guess the “work” that Plaintiff believes

 should warrant recovery in quantum meruit. As such, in addition to being preempted by the

 FLSA, Count II likewise should be dismissed for failure to state a claim. See, e.g., Com. P'ship

 8098 Ltd. P’ship v. Equity Contracting Co., 695 So. 2d 383, 390 (Fla. 4th DCA 1997) (finding

 that no recovery was permitted for quantum meruit or quasi contract without identifying

 precisely the benefit that the defendant received and never compensated the plaintiff). See also,

 e.g., Griffin v. GMAC Commer. Fin., L.L.C., No. 1:05-CV-199-WBH-GGB, 2006 U.S. Dist.

 LEXIS 48599, at *22-24 (N.D. Ga. July 18, 2006) (denying motion for leave to amend complaint

 to add unjust enrichment claim where “performance of plaintiff[’]s job was part of the

 consideration for defendant’s promise to pay a particular salary (with no particular bonus), [thus]

 ‘he cannot also recover the value of his continued employment through a quantum meruit

 claim.’”) (citations omitted).

 V.     Plaintiff’s FLSA Retaliation Claim Is Founded on Bare Legal Conclusions that
        Fail to Meet Applicable Pleading Standards. Alternatively, Count III Requires
        a More Definite Statement from Plaintiff in Accordance with Rule 12(e)

        Count III of the Complaint purports to assert a claim of retaliation in violation of the

 FLSA, but Plaintiff fails to allege the required elements. “To prove retaliation [in violation of


                                                 8
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 9 of 12

                                                        CASE NO. 1:20-cv-21380-BLOOM/LOUIS


 the FLSA], a plaintiff must ultimately show: (i) “she engaged in activity protected under [the]

 act;” (ii) “she subsequently suffered adverse action by the employer;” and (iii) “a causal

 connection existed between [her] activity and the adverse action.” Smith v. Haynes & Haynes

 P.C., 940 F.3d 635, 648 (11th Cir. 2019) (quoting Wolf v. Coca-Cola Co., 200 F.3d 1337, 1342-

 43 (11th Cir. 2000)). See also Perez v. Garcia, No. 15-20615-CIV-O’SULLIVAN, 2016 U.S.

 Dist. LEXIS 180301, at *2 (S.D. Fla. Dec. 30, 2016) (outlining the elements of a prima facie

 case of FLSA retaliation). While Plaintiff does allege that her employment was terminated, she

 nevertheless fails to plead facts supporting a prima facie case of retaliation.

        To constitute actionable retaliation under the FLSA, Plaintiff must plead and prove that

 she made it sufficiently clear to Defendant that she was asserting her rights under the FLSA and

 was “calling for the protection of those rights.” See, e.g., Miller v. Roche Sur. & Cas. Co., 502

 Fed. Appx. 891, 894 (11th Cir. 2012). Here, Plaintiff declares that she complained to some

 unspecified person about receiving overtime compensation, but she does not provide any further

 details about the purported complaint.        Plaintiff omits information regarding whether the

 complaint was submitted in writing or orally, to whom the complaint allegedly was submitted

 (i.e., whether the complaint was submitted to any member of Defendant’s management), or even

 when the complaint allegedly was submitted. The Complaint simply fails to put forward enough

 facts to show that Plaintiff engaged in any protected activity, which leaves Defendant unable to

 respond.

        Moreover, concerning the element of causation, Plaintiff’s supporting facts are equally, if

 not more, scant. The Complaint vaguely mentions that she allegedly complained about overtime

 compensation “shortly before” Defendant allegedly “violated the FLSA” by terminating her

 employment. From those bare allegations, Plaintiff expects that an inference of retaliation would




                                                   9
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 10 of 12

                                                        CASE NO. 1:20-cv-21380-BLOOM/LOUIS


  arise. A well-pleaded complaint requires “more than labels and conclusions” and must meet the

  following threshold requirements to survive a motion to dismiss, Plaintiff must: (i) bridge the

  gap between the conclusory and the factual; and (ii) allege suggestive facts that exceed factual

  neutrality. Twombly, 550 U.S. at 557 n.5. As such, to “bridge the gap” for purposes of creating

  an inference of retaliation, Plaintiff must present facts in the Complaint that show that her

  alleged complaint about overtime compensation was the but-for cause of the termination of her

  employment. Fernandez v. Winn-Dixie Stores, Inc., No. 17-cv-60322, 2018 U.S. Dist. LEXIS

  11015, at *18 (S.D. Fla. Jan. 24, 2018) (explaining that a prima facie case of FLSA retaliation

  requires a showing that but-for the protected activity the adverse employment action would not

  have been taken).          See also Gombos v. Cent. Mortg. Co., No. 10-81296-CIV-

  MARRA/JOHNSON, 2011 U.S. Dist. LEXIS 21413, at *5 (S.D. Fla. Mar. 3, 2011) (“a pleading

  is insufficient if a defendant does not know the basic facts that constitute the claim for relief

  against it. Such detail should not be left to discovery, for the purpose of discovery is to find out

  additional facts about a well-pleaded claim, not to find out whether such a claim exists.”)

  (internal citations omitted).

         Because Count III consists of nothing more than threadbare allegations and legal

  conclusions, Plaintiff’s FLSA retaliation claim should be dismissed for failure to state a claim

  upon which relief can be granted. Alternatively, in light of the significant factual gaps in Count

  III outlined above, Defendant requests that Plaintiff be required to make a more definite

  statement of her allegations in Count III.

                                           CONCLUSION

         Plaintiff’s attempt to end-run the FLSA in Counts I and II fails because Plaintiff’s claims

  under Florida common law are preempted by her claims under the FLSA. Moreover, she




                                                  10
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 11 of 12

                                                        CASE NO. 1:20-cv-21380-BLOOM/LOUIS


  otherwise has failed to plead sufficient facts to state actionable claims against Defendant for

  breach of an oral contract or for recovery in quantum meruit. In turn, Plaintiff’s allegations of

  alleged FLSA retaliation are too conclusory and provide insufficient factual detail to permit

  Defendant to respond properly, thus warranting dismissal. In the alternative, Defendant moves

  for a more definite statement as to Count III.

         WHEREFORE, Defendant, Atlantic & Pacific Association Management, Inc.,

  respectfully requests that this Court grant this Motion to Dismiss, dismissing the allegations

  against Defendant, with prejudice, in addition to granting such other and further relief as the

  Court deems just and appropriate. Alternatively, Defendant moves for dismissal of Counts I and

  II of the Complaint and to order Plaintiff to provide a more definite statement as to Count III.

  Dated: April 7, 2020

                                                   Respectfully submitted,

                                                   JACKSON LEWIS P.C.
                                                   One Biscayne Tower, Suite 3500
                                                   2 South Biscayne Boulevard
                                                   Miami, Florida 33131
                                                   Telephone: 305-577-7600

                                                   s/ Scott S. Allen
                                                   Scott S. Allen, Esq.
                                                   Florida Bar No. 143278
                                                   E-mail: scott.allen@jacksonlewis.com
                                                   Shayla N. Waldon Esq.
                                                   Florida Bar No. 105626
                                                   E-mail: shayla.waldon@jacksonlewis.com

                                                   Counsel for Defendant




                                                   11
Case 1:20-cv-21380-BB Document 7 Entered on FLSD Docket 04/07/2020 Page 12 of 12

                                                      CASE NO. 1:20-cv-21380-BLOOM/LOUIS


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document is being served on

  April 7, 2020, on all counsel of record on the Service List below via transmission of Notices of

  Electronic Filing generated by CM/ECF.

                                                 s/ Scott S. Allen
                                                 Scott S. Allen, Esq.

                                         SERVICE LIST

  Lawrence J. McGuinness, Esq.                    Scott S. Allen, Esq.
  E-mail: ljm@ljmpa.com                           E-mail: scott.allen@jacksonlewis.com
  MG LEGAL GROUP, P.A.                            Shayla N. Waldon Esq.
  3126 Center Street                              E-mail: shayla.waldon@jacksonlewis.com
  Coconut Grove, Florida 33133                    JACKSON LEWIS P.C.
  Telephone: (305) 448-9557                       One Biscayne Tower, Suite 3500
                                                  2 South Biscayne Boulevard
  Counsel for Plaintiff                           Miami, Florida 33131
                                                  Telephone: (305) 577-7600

                                                  Counsel for Defendant




                                                 12
